875 F.2d 315Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Major Ray KEMP, Plaintiff-Appellant,v.Captain WHITAKER, Lieutenant Boyle, Sergeant Briscoe, NurseElliot, Defendants-Appellees.
    No. 88-7356.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 28, 1989.Decided May 3, 1989.
    
      Major Ray Kemp, appellant pro se.
      Sylvia Hargett Thibaut, Office of the Attorney General, for appellees.
      Before DONALD RUSSELL, PHILLIPS, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Major Ray Kemp appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Kemp v. Whitaker, C/A No. 88-76-SH (W.D.N.C. Dec. 5, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    